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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF OHIO

CLEVELAND BROWNS FOOTBALL          :
COMPANY, LLC,                      :            Case No. 1:24-cv-01857
                                   :
                 Plaintiff,        :            Judge David A. Ruiz
                                   :
     vs.                           :
                                   :
THE CITY OF CLEVELAND, et al.      :
                                   :
                 Defendants.       :


  REPLY IN SUPPORT OF INTERVENOR-DEFENDANT THE STATE OF OHIO’S
                        MOTION TO DISMISS
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                                         INTRODUCTION
       Rather than demonstrate why this case should not be dismissed the Browns double down

on their request for a federal court ruling that they also claim to not need. The Browns have it

backwards. Courts do not have a duty to decide federal questions when there is no reason to do

so. They have an obligation to avoid exactly that. When undecided issues of state law are

dispositive of a case—as the Browns claim that they are here—the federal questions cannot jump

the line. This Court should abstain from deciding the Browns’ federal claims until the state law

claims are adjudicated and it becomes necessary to do so.

       Instead of recognizing this well-settled approach to constitutional challenges, the Browns

muddy the waters. On one hand, they claim that the Modell Law does not apply to them, but on

the other ask for this Court for a declaration that it is unconstitutional. This begs the question –

what are they going to do with the declaration?       Because as the City correctly points out in its

Motion to Dismiss (and the Browns seem to concede in their response), they are not actually asking

this Court to enjoin enforcement of the Modell Law. Perhaps that makes sense. After all, why

would the Browns need to enjoin a law that does not apply to them? This Court can, and should,

easily avoid the Browns’ procedural predicament by abstaining and first allowing the questions of

Ohio law to be litigated where they belong – in state court.

       But even if abstention did not apply in this case, it should still be dismissed. It is only by

playing fast and loose with the facts and the law that the Browns can argue otherwise. Ohio

Revised Code § 9.67 (“Modell Law” or “Statute”) governs a narrow sliver of business relationships

between the State, political subdivisions, and the professional sports teams that ask for and accept

hundreds of millions of taxpayer dollars. It is not a criminal statute. It does not implicate the First

Amendment. And when the correct test for vagueness is applied, it easily passes constitutional

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muster. A person of ordinary intelligence would know what is required of the Browns before the

Team relocates and begins playing elsewhere. They have given this Court no reason to conclude

otherwise.

       The Browns fall similarly short in defending their Contract Clause claim.        Though the

Browns confusingly refer to several contracts between other parties, they fail to identify a single

contract to which they were a party in 1996. The Browns’ only contract is the Expansion Franchise

Agreement, which did not exist until 1998. The Modell Law was in effect at the time and the

Browns cannot now complain about its requirements.

       Finally, the Browns can only defend their Commerce Clause claim by ignoring the current

state of the law and the text of the Statute. The Modell Law is not facially discriminatory because

the Browns keep saying that it is. It simply ensures that public financiers be given a seat at the

“opportunity to purchase” table before a professional sports team can take the money and run. The

Browns fail to overcome the inescapable conclusion that the dormant Commerce Clause does not

apply to the Modell Law, much less violate it.

             A. The Browns failed to overcome Pullman.

       The Browns have it backwards. They are not entitled to a federal court ruling on a

constitutional question before they need it. Pullman abstention applies to correct their course, and

none of the cases cited by the Browns compel a different conclusion. Railroad Comm’n v. Pullman

Co., 312 U.S. 496 (1941).

       For example, the Browns rely on Martin-Marietta Corp. v. Bendix Corp. in which the Sixth

Circuit recognized that “[u]nder the Pullman doctrine, where a state law is being challenged in

federal court as contrary to the federal Constitution and there are questions of state law which may

be dispositive of the case, a federal court should abstain from deciding the case and allow the state



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courts to decide the state issues.” Martin-Marietta Corp. v. Bendix Corp., 690 F.2d 558, 563 (6th

Cir. 1982); See Plaintiff Cleveland Browns Football Company LLC’s Brief in Opposition to

Intervenor-Defendant the State of Ohio’s Motion to Dismiss (“Opposition”), Doc. 27 at p. 8. In

Martin, the Sixth Circuit overruled the district court’s decision to apply Pullman and abstain from

considering a federal constitutional challenge to two Michigan statutes while those statutes were

being enforced against the plaintiffs through state processes. Martin, 690 F.2d 558. Although the

Sixth Circuit reversed the district court, it treated favorably City Investing Co. v. Simcox, 633 F.2d

56 (7th Cir. 1980), the case on which the district court based its abstention. The Martin court noted

that in Simcox, abstention was appropriate because a ruling by a state court that the plaintiffs’

activities did not fall within the challenged statute would have mooted the federal constitutional

claims. Martin, 690 F.2d at 563 (citing Simcox, 633 F.2d 56). Abstention was not appropriate in

Martin because the challengers did not dispute that the challenged statute applied to them,

“suggested no construction which would remedy the constitutional defects” and moved to enjoin

its enforcement. Id.

       Here, the Browns dispute that the Modell Law even applies and are not seeking to enjoin

its enforcement. Amended Compl., Doc. 12 at ¶ 131. A state court ruling that they are correct

would moot the federal constitutional claims and abstention is thus warranted. Martin, 690 F.2d

at 563 (citing Simcox, 633 F.2d 56). Said differently, Martin does not help the Browns, it proves

the State’s point. And, this case is on all fours with Simcox, not Martin.

       Traughber v. Beauchane is equally unhelpful to the Browns. Opposition at p. 8 (citing

Traughber v. Beauchane, 760 F.2d 673 (6th Cir. 1985)). There, the Sixth Circuit rejected the

district court’s application of Pullman in a challenge to Tennessee’s attachment statute. The state

court had refused to rule on the constitutionality of the attachment statute after it had already been



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applied to the plaintiffs, instead deferring to the federal court on that issue. But the district court

applied Pullman, abstained from deciding the constitutional question and “the judicial comity

which underlay[] Pullman [became] a judicial comedy at the expense of the [plaintiffs]”. Id. at

682. In essence, the plaintiffs were caught in limbo between the state and federal courts.

       Reversing the district court, the Sixth Circuit recognized that “Pullman abstention is

applicable where state interpretation of an unclear law would remove the federal issue by making

unnecessary a constitutional decision.” Id. It was inapplicable in Traughber because “no ruling

by a state court interpreting the attachment statute [had] permitted the federal trial court to avoid

ruling” on whether the statute had been applied in violation of the fourteenth amendment, as

alleged. Id.

       Again, that is not the case here. The Browns claim that their actions neither trigger nor

violate the Modell Law, doc. 12 at ¶ 131, and they claim it unclear. Id. at ¶¶ 43-51, 68-83. If they

are correct, a state court ruling could “remove the federal issue by making unnecessary a

constitutional decision”. Traughber at 682. Pullman abstention applies.

       Rather than recognize that a state court decision could eliminate the need for a federal

constitutional one, the Browns attempt to recast the State’s argument. The State is not, as the

Browns claim, arguing that a state court should first decide the federal questions that this case

presents. See Opposition at pp. 6, 9. Instead, the point is that consistent with Pullman, and the

cases cited by the Browns, this court should only decide the federal claims if it becomes necessary

to do so. According to the Browns, the Modell Law does not apply to them, so it never should be.

Abstention is warranted and the Browns have failed to prove otherwise.

               B. The Modell Law is not vague.




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       In response to the State’s Motion, the Browns fail to recognize, much less address, the less

stringent vagueness test which applies in this as-applied challenge to an economic regulation. This

case does not involve a criminal statute or the First Amendment. Opposition at p. 10, (citing

Memphis Ctr. For Reprod. Health v. Slatery, No. 20-5969, 2020 U.S. App. LEXIS 36780 (6th Cir.

2020) (challenge to a criminal statute)); Id. at p. 12 (citing Belle Maer Harbor v. Charter Twp. Of

Harrison, 170 F.3d 553 (6th Cir. 1999) (challenge to a criminal statute)); Id. at p. 11 (citing Platt

v. Bd. of Comm’rs on Grievances & Discipline of Ohio Supreme Court, 894 F.3d 235 (6th Cir.

2018) (First Amendment challenge to Ohio Code of Judicial Conduct)). Nor does it involve a local

zoning ordinance which are “in derogation of common law and must be strictly construed”.

Ambrose v. Vill. Of Galena, 2015-Ohio-3157 (5th Dist. 2015), cited at Opposition at p. 12.

       Instead, the Modell Law is an economic regulation that is subject to a less stringent

vagueness test and entitled to greater leeway. Stevens v. City of Columbus, 2022 U.S. App. LEXIS

20829 (6th Cir. 2022); Burch v. USDA, 174 F. App’x 328 (6th Cir. 2006). And while the Browns

claim to acknowledge that theirs is an as-applied challenge, Opposition at p. 11, they play fast and

loose with how the Court is to consider it. They dodge the actual question: whether the Modell

Law provides a person of ordinary intelligence with notice of what is required of the Browns before

they stop playing the majority of their games at Huntington Bank Field. Stevens, 2022 U.S. LEXIS

20829 * 11; see also Burch, 174 F. App’x. at 333 (quoting United States v. Mazurie, 419 U.S. 544,

550 (1975 (“‘vagueness challenges to statutes which do not involve First Amendment freedoms

must be examined in the light of the facts of the case at hand.’”)).   It does.

     Turning again to the term “elsewhere,” notable in its absence is any discussion by the Browns

of the Precourt case, which rejected the identical argument presented here. See State ex rel. Ohio

Attorney General Mike DeWine v. Precourt Sports Ventures LLC, 2018 Misc. LEXIS 6293. Instead



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of distinguishing, much less acknowledging, its existence, the Browns attempt to create a conflict

between the City and the State. See Opposition at pp. 12-13. But the City and the State are on the

same page when it comes to the word “elsewhere”. That is, the state court Complaint outlines

City’s efforts to try to reach an agreement with the Browns under Ohio Rev. Code § 9.67(A)) for

them to play somewhere other than the Stadium. City of Cleveland v. Haslan Sports Group, LLC,

et al., Cuyahoga County Common Pleas Court Case No. CV-25-110189, Complaint, ¶ 28. When

an agreement could not be reached, the City began to enforce the “notice and opportunity”

provisions in Ohio Rev. Code § 9.67(B). Id. at ¶ 41. In other words, the term “elsewhere” is so

easily understood that the City’s Complaint identically tracks the ‘either/or’ application of Ohio

Rev. Code § 9.67 laid out by the State in its Motion to Dismiss. Doc. 24 at p. 3.

       The Browns’ continued challenge to “political subdivision” fares no better. They do not,

and cannot, deny that Ohio law defines “political subdivision”. Ohio Rev. Code § 2744.01(F).

Instead, they posit that when the General Assembly used the term “political subdivision” in the

Modell Law it did not mean that political subdivision (the one it already defined). Opposition at

p. 13. Leaving aside the Browns’ complete lack of support for this notion, “[i]t is a well-settled

rule of statutory interpretation that statutory provisions be construed together and the Revised Code

be read as an interrelated body of law.” State v. Pribble, 158 Ohio St. 3d 490, 494, 2019-Ohio-

4808, 145 N.E.3d 259 (2019) (quoting State v. Moaning, 76 Ohio St.3d 126, 128, 1996-Ohio-413,

666 N.E.2d 1115). When interpreting related and co-existing statutes—such as one that uses a term

and one that defines it—the Court must harmonize and give effect to all statutes unless they

conflict. Pribble, 158 Ohio St. 3d at 490 (quoting United Tel. Co. of Ohio v. Limbach, 71 Ohio

St.3d 369, 372, 1994-Ohio-209, 643 N.E.2d 1129 (1994) (additional citations omitted)). Said




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differently, the Modell Law does not need to explicitly incorporate Ohio Rev. Code § 2744.01(F)’s

definition of “political subdivision”, Ohio law already does it.

       At its core, the Browns argument is not really that the terms “political subdivision”,

“opportunity”, or “reside in the area” are unclear or undefined. Instead, they still claim confusion

as to which political subdivision—the City or the County—should be given notice and opportunity

and in which political subdivision potential investors must reside. Opposition at pp. 13-14. Their

alleged confusion rings hollow. As they helpfully point out by bolding the word “the”, the relevant

political subdivision in the text of the Modell Law is the one that provided financial assistance to

the professional sports team. Id. The Browns allege that only one did – the City of Cleveland.

Doc. No. 12 at ¶ 3. Confusion cleared.

                C. The Browns do not save their Contract Clause Claim.

       Seeming to understand their timing problem, the Browns now claim that the HBF Lease

and FCA are the relevant contracts which will allegedly be impaired by the Modell Law.

Opposition at p. 16. But that is not what the Amended Complaint alleges. There, the Browns claim

that the Modell Law impairs the NFL Franchise Agreement in violation of the Contract Clause.

Doc. No. 12 at ¶¶100-101. Their pivot away from the Complaint is nothing more than smoke and

mirrors. An inventory of contracts, the parties to them, and the dates entered explains why:

            •   HBF Lease and Franchise Commitment Agreement (“FCA”):                 Entered into
                between the NFL and the City in 1996; Id. at ¶ 12;

            •   Expansion Franchise Agreement: Entered into between the Browns and the NFL
                in or about September 1998; Id. at ¶ 40;

            •   HBF Lease: Assigned to StadCo by the NFL in or about 1998; Id. at ¶ 41.




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So, according to the Browns, they are only a party to one contract, the Expansion Franchise

Agreement, and they did not become a party to it until 1998, well after the Modell Law was

enacted.

        What they are really saying is that when they entered into the Expansion Franchise

Agreement with the NFL in 1998, NFL’s Franchise Agreement was one of the terms of the contract.

Id. at ¶ 35. That is the case for all NFL franchises. Id. But they do not allege, nor could they, that

they were somehow bound by it, the FCA, or anything else, before they purchased the Team in

1998. The same holds true for the HBF Lease. The Browns do not allege that they were ever a

party to it. They lack standing to hinge their Contract Clause claim on someone else’s contract

(e.g. StadCo or the NFL). Warth v. Seldin, 422 U.S. 490 (1975) (a party must generally assert his

own legal rights and cannot rest his claim to relief on the legal rights or interests of third parties).

And even if the Browns’ affiliate StadCo could somehow be considered one and the same as the

Browns (a doubtful premise), it did not become a party to the HBF Lease until the 1998

assignment. Doc. No. 12 at ¶ 41. Their timing problem would still be fatal.

               D. The Browns do not save their dormant Commerce Clause claim.

       The Modell Law is not facially discriminatory, and the Browns cannot twist its terms to

make it so. It does not give anything to in-state actors that is not also available to those from

outside Ohio or the area of the political subdivision. It is simply not true for the Browns to assert

otherwise. Opposition at p. 17 (arguing that the law expressly favors in-state economic interests

by giving individuals who reside in the area special rights with respect to the purchase of

professional sports organization, while not providing the same economic opportunities to

individuals outside of the area and/or the state); Id. at p. 19 (arguing that the law limits the Browns’

access to potential purchasers based on residence). But it is only by misconstruing the Modell



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Law that the Browns can hope to save their dormant Commerce Clause claim. A plain reading of

the Law should quickly dash those hopes.

       So too should a review of City of Oakland v. Oakland Raiders on which the Browns rely.

Oakland is a California state court case which involved eminent domain and applied a now-

outdated interpretation of the dormant Commerce Clause. Opposition at p. 17 (citing City of

Oakland v. Oakland Raiders, 174 Cal. App. 3d 414, 422 (1st Dist. 1985). The fact that the Browns

rely on it without even acknowledging the on-point Ohio court decision which rejected an identical

dormant Commerce Clause claim is telling. See Precourt, LLC, 2018 Misc. LEXIS 6293.

         This not an eminent domain case where Ohio law is being used to take a Team or even

prohibit it from relocating. Instead, the Modell Law is a statute that even the Oakland court

recognized would escape Commerce Clause review. In Oakland the City had taken the Oakland

Raiders by eminent domain. Rejecting the condemnation on Commerce Clause grounds, the court

held that the City could “escape commerce clause review if it had in fact acted as a mere market

participant – i.e. if it had attempted to enter the football market on an equal footing, bidding with

other potential market participants and seeking to purchase from someone willing and able to sell.”

Oakland, 174 Cal. App.3d at 419. Once again, that is what the Modell Law does. It puts a political

subdivision or a group of investors in its area on equal footing with everyone else. It provides an

equal opportunity but does not demand a specific outcome or result. It discriminates against no

one.

         Ultimately, the Browns fail to establish that the Commerce Clause applies to this case at

all.     The Commerce Clause applies when the government attempts to regulate interstate

commerce. Hughes v. Alexandria Scrap Corp., 426 U.S. 794, 809 (1976) (“the right to engage in

interstate commerce is not the gift of a state[…], a state cannot regulate or restrain it” (quoting



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H.P. Hood & Sons v. Du Mond, 336 U.S. 525 (1949)). Under the market participation theory it

does not apply where, as here, the state or a political subdivision enters the market and participates

in it. White v. Mass. Council of Constr. Emplrs, 460 U.S. 204, 208 (1983).

       Notably, the market participation theory is not limited in its application to situations in

which the state or political subdivision act as buyers or sellers. For example, in White, the United

States Supreme Court applied the market participation theory to an executive order issued by the

Mayor of Boston which required that for all construction projects funded in whole or part by city

funds, at least half of the workforce had to be bona fide Boston residents. White, 460 U.S. 204.

The Court upheld the order because the city participated in the marketplace when it provided funds

for construction. Id.    It recognized that the government can be a market participant when it

expends its own funds. Id. at 214-15.

       The crux of the market participant theory is that when the government participates in a

market, as opposed to just regulating it, the Commerce Clause does not apply. See White, 460 U.S.

204. Contrary to the Browns’ assertion, it is not limited in its application to situations in which

the City buys or sells the Team. Opposition at p. 19; see White. 460 U.S. 204. It also applies when

the government acts as financier. White, 460 U.S. 204 at 214-15. The City and State became

market participants when they financed the Browns. The government is permitted to attach strings

to that financing. The Modell Law is the strings and the Commerce Clause has no application.

       Nor is this a situation in which the strings spill over into other markets. When the

government imposes conditions upon the market in which it participates, those conditions cannot

burden other markets. Opposition at p. 19 (quoting South-Central Timber Dev., Inc. v. Wunnicke,

467 U.S. 82, 89 (1984)). Because at that point, the government is regulating a market in which it

is not participating. That is not what is happening here.



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       The Modell Law is limited to the market in which the State or political subdivision

participates – the one in which professional sports teams accept hundreds of millions of taxpayer

dollars. It does not spill over elsewhere – for example, the increasingly rare market in which

professional sports teams are privately funded and do not ask for and accept taxpayer assistance.

The Modell Law is not an unavoidable regulation imposed upon all businesses. It applies only to

those professional sports teams that willingly enter into the marketplace with the State or a political

subdivision by accepting public money. A team can easily avoid its reach by not doing so.

                                          CONCLUSION
       The State is not trying to avoid this lawsuit or “favor” the state court action. Opposition

at p. 1. It is confident in its ability to defend the constitutionality of the Modell Law against the

Browns’ claims. The point is that there is an order in which those claims should be litigated, and

this is not it. Federal courts should only reach federal questions when and if it becomes necessary.

Pullman abstention applies to allow the state court to make that determination. In response to the

Motion to Dismiss, the Browns have failed to overcome its application. They similarly failed to

state any federal claim for this Court to decide. For the reasons set forth in the State’s Motion to

Dismiss, this case should be dismissed.

                                               Respectfully submitted,

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                                               OHIO ATTORNEY GENERAL

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           NORTHERN DISTRICT OF OHIO LOC. R. 7.1(f) CERTIFICATION
       I certify that this case is assigned to a standard track. The Memorandum in Support of
this Motion to Dismiss complies with the page limit for such cases.


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